Case 3:21-cr-02216-CAB Document 337 Filed 12/01/22 PageID.3386 Page 1 of 6
Case 3:21-cr-02216-CAB Document 337 Filed 12/01/22 PageID.3387 Page 2 of 6
Case 3:21-cr-02216-CAB Document 337 Filed 12/01/22 PageID.3388 Page 3 of 6
Case 3:21-cr-02216-CAB Document 337 Filed 12/01/22 PageID.3389 Page 4 of 6
Case 3:21-cr-02216-CAB Document 337 Filed 12/01/22 PageID.3390 Page 5 of 6
Case 3:21-cr-02216-CAB Document 337 Filed 12/01/22 PageID.3391 Page 6 of 6
